UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------,X

W ATERSCAPE RESORT LLC; ASSA REALTY LLC;
and GEMSTONE GROUP LLC,                                                  21 Civ. 7350 (PAE)

                                       Plaintiffs,                             ORDER

                       -v-

70 WEST 45th STREET HOLDING LLC and
W ATERSCAPE RESORT II LLC,

                                       Defendants.
---------------------------------------------------------------X
PAUL A. ENGELMAYER, District Judge:

       As stated in today's conference, the Court directs the parties to promptly confer and

schedule the outstanding depositions in this case. The next case management conference is

scheduled for October 24, 2023 at 2 p.m. Any party wishing to move for summary judgment is

directed to, no later than October 10, 2023, file a pre-motion letter in accordance with the

Court's Individual Rules and Practices in order to request that the Court treat the conference as a

pre-motion conference. Responses to any pre-motion letters are due by October 17, 2023.




        SO ORDERED.
                                                                   PaMiA.~
                                                               Paul A. Engelmayer
                                                               United States District Judge


Dated: July 19, 2023
       New York, New York




                                                     1
